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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


In re Terrorist Attacks on September 11, 2001      03 MDL 1570 (GBD)(SN)
                                                   ECF Case


This document relates to:

Ashton, et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN) (and member case
       Burlingame v. Bin Laden, et al., 02-cv-7230)
Ashton, et al. v. Kingdom of Saudi Arabia, 17-cv-02003 (GBD)(SN)

                            MOTION TO SUBSTITUE COUNSEL

       COME NOW, Eileen Lynch, individually as spouse and as Personal Representative of the

Estate of Farrell Lynch, deceased; Anne Lynch, individually as surviving child of Farrell Lynch,

deceased; Katherine Lynch, individually as surviving child of Farrell Lynch, deceased; and

Meghan Lynch, individually as surviving child of Farrell Lynch, deceased (“the Lynch

Plaintiffs”), Plaintiffs in Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-6977

(GBD)(SN) (and member case Burlingame v. Bin Laden, et al., 02-cv-7230) ; and Ashton, et al. v.

Kingdom of Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN), and file this Motion to Substitute

Counsel. As grounds for said Motion, the Lynch Plaintiffs state as follows:

         1.     The Lynch Plaintiffs were represented by Speiser Krause (“Speiser”). On

 November 20, 2019, by letter and emails, the Lynch Plaintiffs advised the Speiser law firm

 that they desired new counsel.

         2.     The Lynch Plaintiffs thereafter retained John F. Schutty, Esq. of the Law Office

 of John F. Schutty, P.C. to represent them in this litigation.

         3.     The Lynch Plaintiffs now ask the Court to substitute John F. Schutty, Esq. as

 attorney of record as to the Lynch Plaintiffs.
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        4.      The Lynch Plaintiffs, the Speiser law firm, MDL Counsel (James Kreindler,

 Esq.) and John F. Schutty, Esq., consent to the substitution of counsel as requested herein

 (signed Consents are attached hereto as part of a Stipulation & Consent Order, see Exhibit A).

       WHEREFORE, PREMISES CONSIDERED, Eileen Lynch, individually as spouse and

as Personal Representative of the Estate of Farrell Lynch, deceased; Anne Lynch, individually as

surviving child of Farrell Lynch, deceased; Katie Lynch, individually as surviving child of

Farrell Lynch, deceased; and Meghan Lynch, individually as surviving child of Farrell Lynch,

deceased, pray that this Honorable Court enter an Order substituting John F. Schutty, Esq. of

Law Office of John F. Schutty, P.C. as attorney of record for the Lynch Plaintiffs only in Ashton,

et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN); (and member case

Burlingame v. Bin Laden, et al., 02-cv-7230); and Ashton, et al. v. Kingdom of Saudi Arabia,

Case No.: 17-cv-02003 (GBD)(SN).

                                              RESPECTFULLY SUBMITTED,

                                              /s/   John F. Schutty
                                                    John F. Schutty (JS2173)

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